Case 2'03-cr-20253-.]DB Document 42 Filed 06/30/05 Page 1 of 2 Page|D 63

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IN THE UNITED STATES DISTRICT COURT

FoR THE wEsTERN DISTRICT op TENNESSEE 05 JUN 30 PH 2_. w

WESTERN DIVISION

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UNITED STATES OF AMERICA,
Plaintiff,
vs. NO. 03-20253BV

MICHAEL P. MALLEY,

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Defendant.

 

 

ORDER GRANTING MOTION TO WITHDRAW AS COUNSEL

 

 

Before the court is the written motion of Leslie I. Ballin,
retained counsel for the defendant Michael P. Malley, seeking an
order from this court allowing then\ to withdraw from further
representation of the defendant. As grounds for the .motion,
counsel points out that the defendant was sentenced on February 16,
2005, he has concluded his representation of the defendant, and the
defendant has not retained him in any matters beyond the
sentencing. In addition, no appeal has been filed and all
proceedings are concluded.

It appears to the court for good cause shown that Ballin’s
motion is well-taken and should be granted.

IT IS THEREFORE ORDERED that Leslie I. Ballin be and hereby is
allowed to withdraw as counsel for the defendant and is relieved
from further representation of the defendant

IT IS SO ORDERED this 30th day of June, 2005.

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 42 in
case 2:03-CR-20253 Was distributed by faX, mail, or direct printing on
June 30, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

